Case No. 1:14-cv-02887-JLK-CYC             Document 346         filed 11/11/20   USDC Colorado
                                            pg 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Case No. 1:14-cv-02887-JLK-MEH

ALEJANDRO MENOCAL,
MARCOS BRAMBILA,
GRISEL XAHUENTITLA,
HUGO HERNANDEZ,
LOURDES ARGUETA,
JESUS GAYTAN,
OLGA ALEXAKLINA,
DAGOBERTO VIZGUERRA, and
DEMETRIO VALERGA,
on their own and on behalf of all others similarly situated,

         Plaintiffs,

v.

THE GEO GROUP, INC.,

         Defendant.


DEFENDANT THE GEO GROUP, INC.’S UNOPPOSED MOTION FOR EXTENSION OF
                    DEADLINE TO FILE REPLIES


         Pursuant to Fed. R. Civ. P. 6(b)(1)(A), Defendant The GEO Group, Inc. (“GEO”), by and

through undersigned counsel, moves this Court for an extension of the deadline set forth below.

                          Conferral Pursuant to D.C.COLO.LCivR 7.2

         Prior to filing this motion, undersigned counsel for GEO conferred with counsel for

Plaintiffs. Counsel for Plaintiffs consent to the relief sought herein.

         1.      Plaintiffs moved the Court for an order extending the briefing deadlines for GEO’s

Motion for Summary Judgment (ECF No. 305), Motion to Dismiss for Failure to Join Required




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Case No. 1:14-cv-02887-JLK-CYC              Document 346        filed 11/11/20      USDC Colorado
                                             pg 2 of 4




Party (ECF No. 307) and Motion for Decertification of Class (ECF No. 312) (collectively, “GEO’s

Motions”). See ECF No. 321.

         2.     The Court subsequently granted Plaintiffs’ motion and set the deadline for Plaintiffs

to file responses to GEO’s Motions on or before October 25, 2020 and for GEO to file replies, if

any, on or before November 16, 2020.

         3.     GEO respectfully requests a brief extension of two (2) days to file its replies, up to,

through and including November 18, 2020.

         4.     Under Fed. R. Civ. P. 6(b), the Court may extend time upon a showing of good

cause, provided the motion is made before the original time expires.

         5.     This motion is timely. The deadline for GEO to file its supporting replies has not

yet expired.

         6.     Good cause exists to extend the deadline as Plaintiffs recently submitted a Response

to GEO’s Notice of Supplemental Authority which bears on the upcoming replies and the

undersigned’s support staff has been out of the office due to illness.

         7.     The requested relief will not prejudice Plaintiffs who consent to the extension.

         WHEREFORE, GEO respectfully requests that the Court extend its deadline to file replies

supporting GEO’s Motions by two (2) days, up to, through and including November 18, 2020.

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Case No. 1:14-cv-02887-JLK-CYC           Document 346       filed 11/11/20    USDC Colorado
                                          pg 3 of 4




         Respectfully submitted, this 11th day of November, 2020.

                                                AKERMAN LLP

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                                                3
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Case No. 1:14-cv-02887-JLK-CYC          Document 346      filed 11/11/20   USDC Colorado
                                         pg 4 of 4




                               CERTIFICATE OF SERVICE

         I hereby certify on this 11th day of November, 2020, a true and correct copy of the

foregoing DEFENDANT THE GEO GROUP, INC.’S MOTION FOR EXTENSION OF

DEADLINE TO FILE REPLIES was filed and served electronically via the Court’s CM/ECF

system on the following:



                                                  s/ Nick Mangels
                                                  Nick Mangels




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